Case 8:13-cr-00025-JSM-AEP Document 68 Filed 01/16/14 Page 1 of 6 PageID 169
Case 8:13-cr-00025-JSM-AEP Document 68 Filed 01/16/14 Page 2 of 6 PageID 170
Case 8:13-cr-00025-JSM-AEP Document 68 Filed 01/16/14 Page 3 of 6 PageID 171
Case 8:13-cr-00025-JSM-AEP Document 68 Filed 01/16/14 Page 4 of 6 PageID 172
Case 8:13-cr-00025-JSM-AEP Document 68 Filed 01/16/14 Page 5 of 6 PageID 173
Case 8:13-cr-00025-JSM-AEP Document 68 Filed 01/16/14 Page 6 of 6 PageID 174
